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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    UNITED STATES OF AMERICA

                     -v-                                           19-CR-725-3 (JPO)

    DAVID CORREIA,                                                       ORDER
                                Defendant.


J. PAUL OETKEN, District Judge:

        On September 21, 2020, Defendant David Correia’s counsel filed a motion to withdraw

and sought to file under seal the attached declarations explaining Correia’s non-payment as the

reason for the motion. (Dkt. No. 121.) The Court rejected wholesale sealing of the declarations

and directed Correia’s counsel to justify any proposed redactions to the declarations. (Dkt. No.

122.) After considering counsel’s justifications for sealing or redacting the declarations (see

Dkt. No. 128), 1 the Court orders counsel to promptly file the unredacted declarations on the

public docket.

        The public has a right of access — derived from both the common law and the First

Amendment, see Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 120 (2d Cir. 2006) — to

many documents filed with the Court. There is a three-step process in analyzing the common

law right of access. First, the document at issue must be a “judicial document,” i.e., a document

that is “relevant to the performance of the judicial function and useful in the judicial process.”

Id. at 119 (quoting United States v. Amodeo, 44 F.3d 141, 145 (2d Cir. 1995) (“Amodeo I”)). A

court document is relevant to the performance of the judicial function “if it would reasonably




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 The Court also takes notice of the letter filed by Matthew Russell Lee advocating for public
access to these declarations. (See Dkt. No. 126.)


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have the tendency to influence a district court’s ruling on a motion or in the exercise of its

supervisory powers . . . .” Brown v. Maxwell, 929 F.3d 41, 49 (2d Cir. 2019). Second, if the

document is a judicial document, a “common law presumption of access attaches,” at which

point the Court must “determine the weight of that presumption.” Lugosch, 435 F.3d at 119.

The weight of the common law presumption is strongest for “matters that directly affect an

adjudication,” id. (quoting United States v. Amodeo, 71 F.3d 1044, 1049 (2d Cir. 1995)

(“Amodeo II”)); filings associated with discovery disputes or motions in limine, where a court’s

“authority is ancillary to [its] core role in adjudicating a case,” are entitled to a “somewhat

lower” weight of presumption that still requires a court to “articulate specific and substantial

reasons for sealing such material,” Maxwell, 929 F.3d at 50. Third, and finally, the assigned

weight of the common law presumption is to be balanced against any “countervailing factors,”

Lugosch, 435 F.3d at 120, which can include financial privacy, see SEC v. Telegram Grp. Inc.,

No. 19-cv-9439, 2020 WL 3264264, at *5 (S.D.N.Y. June 17, 2020) (“A party’s interest in the

confidentiality of its general financial records is a countervailing factor that can outweigh the

public’s right of access.” (emphasis added) (citing Amodeo II, 71 F.3d at 1051)).

       The common law presumption of access attaches to counsel’s declarations, and Correia’s

asserted financial privacy interest does not overcome this presumption. Correia’s counsel argue

that their declarations are not judicial documents, distinguishing the declarations from the

“dispositive” nature of summary judgment and related papers at issue in Lugosch. (See Dkt. No.

128 at 1–2 (citing In re Bos. Herald, Inc., 321 F.3d 174, 180 (1st Cir. 2003).) However,

counsel’s declarations fit comfortably within the Second Circuit’s capacious definition of a

judicial document: they are relevant to this Court’s decision whether to grant counsel’s motion to

withdraw. See Maxwell, 929 F.3d at 49 (holding that a judicial document is one that “would




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reasonably have the tendency to influence a district court’s ruling on a motion or in the exercise

of its supervisory powers”). The Court acknowledges that the declarations “are subject to a

lesser — but still substantial — presumption of public access,” id. at 53, because they are related

to the Court’s supervision or management of counsel, “authority . . . ancillary to the court’s core

role in adjudicating a case[,]” and closer in nature to filings associated with discovery or in

limine proceedings than to dispositive motions or trial documents, id. at 50. Still, Correia’s

“financial privacy” (Dkt. No. 128 at 2) is insufficient to overcome this moderate presumption of

access. While “[a] party’s interest in the confidentiality of its general financial records” is

recognized as a countervailing factor, Telegram, 2020 WL 3264264, at *5, the declarations at

issue are not genuinely financial records at all. 2 Instead, the declarations — including the

portions sought to be redacted — assert merely that Correia has not yet paid his attorneys and

that Correia will likely qualify for appointed counsel. Without more, such assertions do not

amount to a “specific and substantial reason[]” to redact the declarations. See Maxwell, 929 F.3d

at 50. The common law presumption of access, even if not at its apogee, outweighs Correia’s

asserted privacy interest.

       When holding that the common law presumption of access applies, a court is also to

consider whether the First Amendment right of access applies, since the latter “impose[s] [a]

higher constitutional burden in requiring disclosure.” Lugosch, 435 F.3d at 124. The Second

Circuit has recognized a qualified First Amendment right of access to a wide variety of judicial

documents associated with criminal proceedings, including pretrial suppression hearings,



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  Even the First Circuit case cited by counsel stands for the proposition that “[p]ersonal financial
information, such as one’s income or bank account balance, is universally presumed to be
private, not public.” (See Dkt. No. 128 at 2 (emphasis added) (quoting Bos. Herald, 321 F.3d at
190).)


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suppression motion papers, voir dire, and more. See United States v. Smith, 985 F. Supp. 2d 506,

517 (S.D.N.Y. 2013) (collecting cases). The Court sees no reason why the declarations at issue

depart from judicial documents associated with criminal pretrial proceedings as to which the

Second Circuit has previously recognized the First Amendment right of access. Cf. United States

v. Suarez, 880 F.2d 626, 631 (2d Cir. 1989) (“Because there is no persuasive reason to ignore the

presumption of openness that applies to documents submitted in connection with a criminal

proceeding, we conclude that the public has a qualified First Amendment right of access to the

CJA forms after payment has been approved.”).

       Since “the more stringent First Amendment framework applies, continued sealing of the

documents may be justified only with specific, on-the-record findings that sealing is necessary to

preserve higher values and only if the sealing order is narrowly tailored to achieve that aim.”

Lugosch, 435 F.3d at 124. Given that Correia’s asserted financial privacy interest is insufficient

to overcome even a modest common law presumption of access, it follows that his stated

justification for redactions does not overcome the stronger First Amendment presumption.

       For the foregoing reasons, the declarations may not be sealed or redacted, because the

common law and the First Amendment grant the public and press the right to view the

declarations’ information. Accordingly, defense counsel’s request to seal or redact the attorney

declarations is DENIED. Counsel are directed to file the unredacted declarations on the public

docket within five business days.

       SO ORDERED.

Dated: November 12, 2020
       New York, New York




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